Case: 1:17-md-02804-DAP Doc #: 2364-86 Filed: 08/14/19 1 of 16. PageID #: 385589




              PSJ3
            Exhibit 531
Case: 1:17-md-02804-DAP Doc #: 2364-86 Filed: 08/14/19 2 of 16. PageID #: 385590
Case: 1:17-md-02804-DAP Doc #: 2364-86 Filed: 08/14/19 3 of 16. PageID #: 385591
Case: 1:17-md-02804-DAP Doc #: 2364-86 Filed: 08/14/19 4 of 16. PageID #: 385592
Case: 1:17-md-02804-DAP Doc #: 2364-86 Filed: 08/14/19 5 of 16. PageID #: 385593
Case: 1:17-md-02804-DAP Doc #: 2364-86 Filed: 08/14/19 6 of 16. PageID #: 385594
Case: 1:17-md-02804-DAP Doc #: 2364-86 Filed: 08/14/19 7 of 16. PageID #: 385595
Case: 1:17-md-02804-DAP Doc #: 2364-86 Filed: 08/14/19 8 of 16. PageID #: 385596
Case: 1:17-md-02804-DAP Doc #: 2364-86 Filed: 08/14/19 9 of 16. PageID #: 385597
Case: 1:17-md-02804-DAP Doc #: 2364-86 Filed: 08/14/19 10 of 16. PageID #: 385598
Case: 1:17-md-02804-DAP Doc #: 2364-86 Filed: 08/14/19 11 of 16. PageID #: 385599
Case: 1:17-md-02804-DAP Doc #: 2364-86 Filed: 08/14/19 12 of 16. PageID #: 385600
Case: 1:17-md-02804-DAP Doc #: 2364-86 Filed: 08/14/19 13 of 16. PageID #: 385601
Case: 1:17-md-02804-DAP Doc #: 2364-86 Filed: 08/14/19 14 of 16. PageID #: 385602
Case: 1:17-md-02804-DAP Doc #: 2364-86 Filed: 08/14/19 15 of 16. PageID #: 385603
Case: 1:17-md-02804-DAP Doc #: 2364-86 Filed: 08/14/19 16 of 16. PageID #: 385604
